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IN THE UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF ARKANSAS

WESTERN DIVISION
LITTLE ROCK SCHOOL DISTRICT,
et al. PLAINTIFFS
v. No. 4:82-cv-866-DPM

NORTH LITTLE ROCK SCHOOL
DISTRICT, et al. DEFENDANTS

LORENE JOSHUA, e# al. INTERVENORS
ORDER

1. For the reasons stated at the 16 December 2015 hearing, the Court
directs JNPSD, the Joshua Intervenors, and Dr. Charles Stein to meet on
facilities issues no later than 31 December 2015. By 5 January 2016, Joshua
must file a paper with specific, fact-based arguments on why JNPSD’s
proposed Facilities Master Plan shouldn't receive the Court’s approval as
consistent with Plan 2000 and achieving unitary status on facilities issues. See
Ne 5165 at 3. JNPSD’s response is due by 8 January2016. Ms. Powell will file
a short report on the issue by 10 January 2016. And if an evidentiary hearing
is needed, the Court will hold one at 1:30 p.m. on 19 January 2016.

2. The Court will hold status conferences on 24 March 2016, 22 June

2016, 15 September 2015, and 7 December 2016. The March status conference
 

 

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will focus on staffing. In their pre-hearing reports, PCSSD, Joshua, and
JNPSD may address how the imminent detachment of JNPSD affects future
motions on unitary status.

3. The Court directs PCSSD, Joshua, and JNPSD to continue meeting
monthly on facilities, personnel, and any other issues that arise. JNPSD will
host the January meeting; PCSSD will host the February meeting; and Joshua
will host the April meeting.

4, The parties’ exhibits—No 5169-1, 5171-1 through 5171-6, 5172-1
through 5171-4 & 5175-1 through 5175-3—are admitted. The Court has
considered them, and will consider them, in addressing the proposed Master
Plan.

So Ordered.

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DP. Marshall Jr.
United States District Judge

 

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